Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 1 of 44   PageID #: 705




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Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 2 of 44          PageID #: 706




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   LAURA CASTILLO NAGI, and
   EQUALLY AMERICAN

                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

   VICENTE TOPASNA BORJA,                          No. CV 20-00433 JAO-RT
   EDMUND FREDERICK
   SCHROEDER, JR.,
   RAVINDER SINGH NAGI,
   PATRICIA ARROYO RODRIGUEZ,
   LAURA CASTILLO NAGI, and                        THIRD AMENDED COMPLAINT
   EQUALLY AMERICAN,

                       Plaintiffs,

        v.

   SCOTT NAGO,
    in his official capacity as Chief
    Election Officer for the Hawaii Office
    of Elections,

   GLEN TAKAHASHI,
    in his official capacity as Clerk of the
    City and County of Honolulu,

   KATHY KAOHU,
    in her official capacity as Clerk of the
    County of Maui,

                                               2
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 3 of 44           PageID #: 707




   UNITED STATES OF AMERICA,

   LLOYD J. AUSTIN III,
    in his official capacity as the Acting
    Secretary of Defense,

   FEDERAL VOTING ASSISTANCE
    PROGRAM, and

    DAVID BEIRNE,
     in his official capacity as Director of
     the Federal Voting Assistance
     Program,

                       Defendants.


                          THIRD AMENDED COMPLAINT

         Plaintiffs Vicente Topasna Borja, Edmund Frederick Schroeder, Jr.,

  Ravinder Singh Nagi, Patricia Arroyo Rodriguez, Laura Castillo Nagi

  (collectively, the “Individual Plaintiffs”) and Equally American Legal Defense and

  Education Fund (“Equally American”), on personal knowledge as to their own acts

  and upon information and belief reasonably formed after reasonable inquiry as to

  the acts of others, hereby file this Complaint against Scott Nago in his official

  capacity as Chief Election Officer for the Hawaii Office of Elections, Glen

  Takahashi in his official capacity as Clerk of the City and County of Honolulu,

  Hawaii, Kathy Kaohu in her official capacity as Clerk of the County of Maui,




                                               3
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 4 of 44          PageID #: 708




  Lloyd J. Austin III in his official capacity as the Secretary of Defense,1 David

  Beirne his official capacity as Director of the Federal Voting Assistance Program,

  the Federal Voting Assistance Program, and the United States of America

  (“Defendants”) and allege as follows:

                            NATURE OF THE ACTION

        1.     This action concerns the federal Uniformed and Overseas Citizens

  Absentee Voting Act, Pub. L. No. 99-410, codified as amended at 52 U.S.C. §§

  20301 to 20311 (“UOCAVA”), and the Hawaii statutes implementing its

  requirements, known as the Uniform Military and Overseas Voters Act (“Hawaii

  UMOVA”) and codified at H.R.S. §§ 15D-1 to -18, and the related administrative

  rules promulgated by the Hawaii Office of Elections, H.A.R. § 3-177-600.2




  1
         The First Amended Complaint named Mark Esper instead of Christopher C.
  Miller, as Secretary Esper was the Secretary of Defense at that time. He was
  subsequently replaced by Christopher C. Miller as Acting Secretary. The Second
  Amended Complaint named Christopher C. Miller, as Acting Secretary at that
  time. Christopher C. Miller was subsequently replaced by Lloyd J. Austin III as
  the Secretary of Defense. Pursuant to Federal Rule of Civil Procedure 25(d),
  Lloyd J. Austin III (in his official capacity as the Secretary of Defense) was
  automatically substituted as a defendant for former Acting Secretary of Defense
  Christopher C. Miller. This Third Amended Complaint conforms to that
  substitution.
  2
         Hawaii’s Chief Election Officer recently adopted new voting regulations,
  but in substance they continue to authorize persons eligible to vote absentee under
  UOCAVA to vote absentee in Hawaii. See H.A.R. § 3-177-600(d)(4). The prior
  regulation addressing the same issue was previously codified at H.A.R. § 3-174-22
  and has now been repealed.

                                            2
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 5 of 44              PageID #: 709




        2.     Pursuant to these laws, former Hawaii residents are allowed to

  continue voting in Hawaii by absentee ballot for President and for voting

  representation in the U.S. Senate and U.S. House of Representatives if they reside

  in the Northern Mariana Islands (“NMI”), certain other insular territories, or in a

  foreign country, but not if they reside in Guam, the U.S. Virgin Islands, American

  Samoa, or Puerto Rico.

        3.     This disparate treatment violates the U.S. Constitution’s guarantee of

  equal protection. Equal protection rights for residents of U.S. Territories are

  guaranteed by either the Equal Protection Clause of the Fourteenth Amendment or

  the equal-protection component of the Due Process Clause of the Fifth Amendment

  to the U.S. Constitution. See Examining Bd. v. Flores de Otero, 426 U.S. 572, 600

  (1976); Calero-Toledo v. Pearson Yacht Leasing Co., 416 U.S. 663, 668 (1974).

        4.     Disparate treatment with respect to voting is an especially grievous

  constitutional violation because voting is a fundamental right. As the Supreme

  Court recognized in Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886), nearly one

  hundred and thirty-five years ago, “the political franchise of voting” is a

  “fundamental political right, because [it is] preservative of all rights.” And more

  than fifty-six years ago, the Supreme Court stated that “[n]o right is more precious

  in a free country than that of having a voice in the election of those who make the

  laws under which, as good citizens, we must live. Other rights, even the most


                                            3
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 6 of 44            PageID #: 710




  basic, are illusory if the right to vote is undermined. Our Constitution leaves no

  room for classification of people in a way that unnecessarily abridges this right.”

  Wesberry v. Sanders, 376 U.S. 1, 17-18 (1964). Yet former residents of Hawaii

  who relocate to Guam, the U.S. Virgin Islands, American Samoa, or Puerto Rico

  are not afforded this right with respect to the federal election for President or

  voting members of Congress, even though they would be so enfranchised if they

  relocated to anywhere else in the world, including the NMI.

        5.     As Congress itself recognized in enacting predecessor legislation to

  UOCAVA, “the right to vote for national officers is an inherent right and privilege

  of national citizenship,” H.R. Rep. No. 94-649, pt. 1, at 5 (1975), reprinted in 1975

  U.S.C.C.A.N. 2358, 2362; and “American citizens outside the United States . . .

  have their own Federal stake – their own U.S. legislative and administrative

  interests – which may be protected only through representation in Congress and in

  the executive branch,” id. at 7, 1975 U.S.C.C.A.N. at 2364. And as Rep. Al Swift

  described it at the time of UOCAVA’s enactment, the law was intended to “protect

  a fundamental right” retained by American citizens, “wherever in the world they

  might be.” 132 Cong. Rec. 20,976 (1986) (emphasis added).

        6.     The federal and state laws at issue violate the fundamental guarantee

  of equal protection with respect to voting rights. Congress selectively extended the

  franchise only to some disenfranchised U.S. citizens residing outside the States,


                                             4
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 7 of 44            PageID #: 711




  while denying it to others who are similarly situated. Under UOCAVA, States are

  required to allow former state citizens residing outside the United States or in the

  NMI to vote on an absentee basis in federal elections. But under the same law,

  States are free to deny that right to similarly situated persons residing in the other

  U.S. Territories overseas.

         7.    The Constitution does not permit Congress and the States to pick and

  choose which voters living outside the States are able to maintain their right to vote

  for President and voting representation in the U.S. House and Senate.

         8.    The discriminatory injury inflicted by these laws is aggravated by the

  fact that UOCAVA and Hawaii law single out a narrow group of former state

  residents for disfavored treatment: those who move to Guam, the U.S. Virgin

  Islands, American Samoa, or Puerto Rico. Since 1898, residents of America’s

  overseas territories have been improperly relegated to a form of second-class

  citizenship based on the concern that these areas were populated by an “alien

  races” differing in “religion, customs, laws, methods of taxation, and modes of

  thought.” Downes v. Bidwell, 182 U.S. 244, 287 (1901). The discriminatory

  application of voting rights under UOCAVA and Hawaii law is an extension of this

  injustice.

         9.    The residents of the Territories comprise a discrete and insular

  minority that has been locked out of the political process by (among other things)


                                             5
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 8 of 44            PageID #: 712




  being denied the right to vote for President, Vice President and voting

  representation in Congress. This political powerlessness has real implications for

  the lives of U.S. citizens living in the Territories. As detailed below, these

  Territories have a proud tradition of military service yet cannot vote for their

  Commander-in-Chief; they pay many federal taxes yet have no voting

  representation in Congress regarding how their tax dollars are spent; and they are

  subject to the federal criminal code yet have no say in who decides who will serve

  as federal judges or federal prosecutors in their communities.

         10.   Former state residents of Hawaii living in Guam, the U.S. Virgin

  Islands, American Samoa, and Puerto Rico are disenfranchised and relegated to a

  status as second-class citizens in ways they would not have been had they moved

  to anywhere else on Earth. Indeed, even if they resided in Antarctica – or left

  Earth entirely to work at the International Space Station – they would still be

  permitted to vote for President and voting members of Congress in federal

  elections. Moreover, Hawaii’s laws permit U.S. citizens who have never resided in

  Hawaii to vote absentee under Hawaii UMOVA if a parent or guardian was last

  domiciled in the state of Hawaii, while denying absentee voting rights to former

  residents of Hawaii who have relocated to the Territories of Guam, the U.S. Virgin

  Islands, American Samoa, and Puerto Rico. See H.R.S. § 15D-2; H.A.R. § 3-177-

  600.


                                             6
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 9 of 44           PageID #: 713




        11.    Neither Congress nor Hawaii has offered any explanation or

  justification for continuation of these arbitrary classifications.

        12.    Plaintiffs are individuals who are injured by virtue of the Defendants’

  disparate treatment of former state residents residing in the Territories and

  overseas, along with Equally American. The Individual Plaintiffs, who are former

  Hawaii residents, are not permitted to vote for President or voting representation in

  Congress by absentee ballot in Hawaii. Equally American counts these former

  Hawaii residents among its members, and the inability of its members to vote for

  President or voting representation in Congress by absentee ballot in Hawaii

  diminishes their communities’ access to the political process.

        13.    Plaintiffs seek a declaratory judgment that UOCAVA and Hawaii

  UMOVA violate the equal protection guarantees of the Fifth and Fourteenth

  Amendments by extending absentee voting privileges to former Hawaii residents

  living foreign countries or NMI but not to former Hawaii residents living in Puerto

  Rico, Guam, the U.S. Virgin Islands, or American Samoa. Plaintiffs seek a

  declaration and injunction requiring Defendants to enforce the provisions of

  UOCAVA and UMOVA with an even hand, extending absentee voting privileges

  to former Hawaii residents living in Puerto Rico, Guam, the U.S. Virgin Islands,

  and American Samoa on the same terms as to former Hawaii residents living in

  foreign countries and NMI.


                                              7
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 10 of 44             PageID #:
                                    714



       14.    Plaintiffs’ standing to seek such a declaration is firmly supported by

 Supreme Court precedent. “[T]he [Supreme] Court has squarely held that a

 plaintiff who suffers unequal treatment has standing to challenge a discriminatory

 exception that favors others.” Barr v. Am. Ass’n of Pol. Consultants, Inc, 140 S.

 Ct. 2335, 2349-50, 2355 (2020) (AAPC) (plurality). Plaintiffs seeking equal

 treatment have standing because “when the right invoked is that to equal treatment,

 the appropriate remedy is a mandate of equal treatment, a result that can be

 accomplished by withdrawal of benefits from the favored class as well as by

 extension of benefits to the excluded class.” Sessions v. Morales-Santana, 137 S.

 Ct. 1678, 1698 (2017) (cleaned up).

       15.    The Court also has the power to issue declaratory relief in such cases.

 Under a long line of Supreme Court precedent, this Court has the power “to

 implement what the legislature would have willed” to remedy a constitutional

 violation resulting in unequal treatment. Morales-Santana, 137 S. Ct. at 1699

 (quoting Levin v. Commerce Energy, Inc., 560 U.S. 413, 427 (2010); citing

 multiple Supreme Court cases extending benefits). If the challenged provision is

 unconstitutional, the court under takes a severability analysis, in which the central

 question is “Congress’s hypothetical intent.” AAPC, 140 S. Ct. at 2350 (plurality).

 Through this analysis, courts try “to implement what the legislature would have

 willed had it been apprised of the constitutional infirmity.” Morales-Santana, 137


                                           8
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 11 of 44             PageID #:
                                    715



 S. Ct. at 1699 (quoting Levin, 560 U.S. at 427); see also id. (The choice of how to

 remedy the unequal treatment “is governed by the legislature’s intent, as revealed

 by the statute at hand.”); AAPC, 140 S. Ct. at 2343, 2353-54 (plurality) (severing

 government-debt exception to the Telephone Consumer Protection Act’s robocall

 restriction regime where “seven Members of the Court” “appl[ied] traditional

 severability principles” to conclude that the unconstitutional government-debt

 collection exception “must be invalidated and severed from the remainder of the

 statute”). Thus, the remedial choice here, turning centrally on hypothetical

 congressional intent, is whether to extend absentee voting to former Hawaii

 residents living in Puerto Rico, Guam, the U.S. Virgin Islands, and American

 Samoa, or whether to withdraw the entitlement to absentee voting from former

 Hawaii residents living in foreign countries and NMI.

       16.    The correct remedy here is to extend absentee voting privileges to

 former Hawaii residents living in Puerto Rico, Guam, the U.S. Virgin Islands, and

 American Samoa. Had Congress known that it could not constitutionally treat

 those individuals differently from former Hawaii residents living overseas, it

 would have chosen to retain the absentee voting benefit for Hawaii residents living

 in foreign countries and NMI and extend it to former Hawaii residents living in

 Puerto Rico, Guam, the U.S. Virgin Islands, and American Samoa. Thus, the

 Court should sever the unconstitutional exclusion of former Hawaii residents living


                                          9
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 12 of 44             PageID #:
                                    716



 in Puerto Rico, Guam, the U.S. Virgin Islands, and American Samoa and order the

 Defendants to treat them and former Hawaii residents living in foreign countries

 and NMI with an even hand. The mechanics are as simple as striking and ordering

 unenforceable the inclusion of “the Commonwealth of Puerto Rico, Guam, the

 Virgin Islands, and American Samoa” from the definition of “United States” in 52

 U.S.C. § 20310(8) and the inclusion of “Puerto Rico, the United States Virgin

 Islands, and any territory or insular possession subject to the jurisdiction of the

 United States” from the definition of “United States” in H.R.S. § 15D-2, because

 these definitions are used to distinguish who lives “outside the United States” (and

 is therefore entitled to benefits) and who lives inside the United States (and who

 therefore, under the statutes, are not entitled to benefits).

       17.    The question is not whether the Court has free-floating power to

 legislate benefits or order Congress or Hawaii to legislate benefits, but rather, after

 careful study of the statutory scheme, which course the Court concludes the

 legislatures would have taken if apprised of the constitutional infirmity. And under

 longstanding Supreme Court precedent, the Court has the power to engage in

 “surgical severance” of the statute to avoid “wholesale destruction.” AAPC, 140 S.

 Ct. at 2350-51 (plurality) (discussing cases). That well-worn approach “allows

 courts to avoid judicial policymaking or de facto judicial legislation,” because




                                            10
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 13 of 44            PageID #:
                                    717



 Congress knows that the judiciary will avoid “unnecessarily disturbing a law apart

 from invalidating the provision that is unconstitutional.” Id. at 2351.

       18.    Plaintiffs also seek an injunction directing Defendants to refrain from

 (1) enforcing these provisions in a manner that violates the Fifth and Fourteenth

 Amendments or (2) enforcing Hawaii regulations in a manner that incorporates the

 Constitutional infirmity currently found in UOCAVA. Courts have authority under

 the Declaratory Judgment Act to provide “[f]urther necessary or proper relief based

 on” declaratory relief, 28 U.S.C. § 2202; Rincon Band of Mission Indians v.

 Harris, 618 F.2d 569, 575 (9th Cir. 1980) (noting that 28 U.S.C. § 2202 authorizes

 district courts to grant injunctive relief to enforce declaratory judgments), as well

 as broad authority to “exercise [their] equitable powers to ensure compliance with

 the law” and to “mould [a] decree to the necessities of the particular case,” Nw.

 Env’t Def. Ctr. v. Bonneville Power Admin., 477 F.3d 668, 680 (9th Cir. 2007)

 (citation omitted) (compelling federal agency to fund certain project).

                                       PARTIES

       A.     Plaintiffs
       15.    a.     Plaintiff Vicente Topasna Borja is a U.S. citizen born in Guam

 in 1950. He currently resides in Santa Rita, Guam. In 1990, Mr. Borja was a

 resident of the City and County of Honolulu, Hawaii. Defendants will not permit

 Mr. Borja to vote for President or for voting members of Congress by virtue of his



                                           11
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 14 of 44          PageID #:
                                    718



 residence in Guam. Under UOCAVA and Hawaii UMOVA, Mr. Borja would

 continue to be able to vote for President and voting Members of the U.S. House

 and Senate by absentee ballot in Hawaii if he were a resident of the NMI or a

 foreign country.

             b.      Mr. Borja is a Vietnam-era Veteran who served 28 years in the

 U.S. Navy. In 1969, while studying at the University of Guam, it became clear to

 Mr. Borja that based on his low draft number, he was likely to be drafted to serve

 in the U.S. Armed Forces – despite not being able to vote for his Commander-in-

 Chief. Rather than wait to be drafted, Mr. Borja volunteered to serve in the U.S.

 Navy. Over the course of his military service, Mr. Borja served multiple tours at

 sea throughout the world, often being away from his family for periods of 6 to 9

 months at a time.

             c.      In 1990, while serving in Japan, Mr. Borja sought and received

 a humanitarian reassignment from Japan to Hawaii so that his wife could receive

 medical treatment not available in Japan for an aggressive form of cancer. He

 established residency in Hawaii for what was supposed to be a two-year tour.

 Unfortunately, his wife’s cancer treatment was not successful, and his family was

 told that her cancer was terminal with no additional available medical treatment.

 His wife’s dying wish was that she could spend her remaining time in Guam with

 family and friends, so Mr. Borja sought and received another humanitarian


                                         12
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 15 of 44            PageID #:
                                    719



 reassignment from Hawaii to Guam. A week after they returned to Guam, his wife

 passed away. Mr. Borja’s military service continued in Guam, where he raised his

 two children with the support of his family. He received an honorable discharge in

 1997 after a decorated military service career.

              d.     As a resident of Guam, Mr. Borja is unable to vote for

 President, either on Guam or by absentee ballot in Hawaii, his former state of

 residence. Mr. Borja actively participates in local Guam elections; this year he cast

 his ballot on the first day of early voting. He would like to be able to vote for

 President and have voting congressional representation in Guam. But until this is

 possible, he desires to vote for President and voting Members of the U.S. House

 and Senate by absentee ballot in Hawaii. Mr. Borja believes that if one can be

 drafted to serve in the U.S. Armed Forces, as residents of Guam are, one should be

 able to vote for the Commander-in-Chief.

              e.     Like many on Guam, Mr. Borja’s naval career is one chapter of

 his family’s proud history of military and federal service. His father spent his

 career in the federal civil service working at the Naval Supply Depot in Guam.

 Two of his uncles served distinguished military careers. His son continues a

 distinguished military service career as an officer, including multiple deployments

 in Iraq and Afghanistan and current service at the Pentagon. Mr. Borja believes

 that Guam’s high rate of military service demonstrates the importance of extending


                                           13
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 16 of 44           PageID #:
                                    720



 voting rights to the people of Guam, particularly for those who have served to

 defend democracy and the U.S. Constitution through military or federal service.

       16.   a.       Plaintiff Edmund Frederick Schroeder, Jr. is a U.S. citizen born

 in North Carolina in 1945. He currently resides in Mangilao, Guam. From 1976 to

 1984, Dr. Schroeder was a resident of the City and County of Honolulu, Hawaii.

 Defendants will not permit Dr. Schroeder to vote for President or for voting

 members of Congress by virtue of his residence in Guam. Under UOCAVA and

 Hawaii UMOVA, Dr. Schroeder would continue to be able to vote for President

 and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

 he were a resident of the NMI or a foreign country.

             b.       Dr. Schroeder was drafted to serve in the U.S. Armed forces in

 1968 just as he was beginning medical school at Case Western Reserve University

 in Cleveland, Ohio. After completing medical school and residency, Dr. Schroeder

 was stationed in Hawaii in 1976, where he served at Schofield Barracks, providing

 primary care to military service members and their dependents. Dr. Schroeder was

 honorably discharged in 1979. He continued living and practicing medicine in

 Hawaii until 1984.

             c.       In 1984, Dr. Schroeder and his family moved to Guam. He has

 now practiced family medicine in Guam for over 35 years, providing care to

 thousands of island residents, including many of the most vulnerable. Throughout


                                           14
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 17 of 44             PageID #:
                                    721



 his career, he has seen firsthand the impact that disparities in federal healthcare

 spending have had on the provision of medical care on Guam, including the

 negative impact it has had on the island’s response to COVID-19. For example, it

 took months after the onset of COVID-19 for Guam to have access to even a

 minimum supply of testing. And once tests were more widely available, capacity

 for analyzing the tests was limited, sometimes resulting in lengthy delays of up to

 10 days or more. More broadly, because of federal Medicaid caps, in many years

 Guam’s Medicaid program has run out of funding part-way through the year,

 forcing practitioners and individuals to ration much-needed medical care. Over Dr.

 Schroeder’s career, federal caps on Medicaid have limited his practice’s ability to

 take on additional Medicaid patients, and has at times limited care for those his

 practice is able to take on. As a physician who conducts disability exams for the

 Social Security Administration, he has helped patients in the NMI receive

 Supplemental Security Income (SSI), even as his patients on Guam who suffer

 similar disabilities are denied SSI benefits. Dr. Schroeder believes residents of

 Guam should enjoy the same federal healthcare benefits as the residents of the rest

 of the United States. He believes that if residents of Guam had expanded voting

 rights and political representation in the federal government, they would be more

 likely to receive equitable treatment in federal healthcare programs. This is one of




                                           15
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 18 of 44           PageID #:
                                    722



 many reasons that Dr. Schroeder would like to be able to vote for President and

 voting representation in Congress.

              d.    As a resident of Guam, Dr. Schroeder is unable to vote for

 President, either on Guam or by absentee ballot in Hawaii, his former state of

 residence. Dr. Schroder has been an active voter throughout his life. He would

 like to be able to vote for President and have voting congressional representation in

 Guam. But until this is possible, he desires to vote for President and voting

 Members of the U.S. House and Senate by absentee ballot in Hawaii. Dr.

 Schroeder believes that all U.S. citizens should be able to vote for President and

 have voting representation in Congress, wherever they may live.

       17.    a.    Plaintiff Ravinder Singh Nagi is a U.S. citizen born in Guam in

 1976. He currently resides in St. Thomas, U.S. Virgin Islands. From 2002 to

 2005, Mr. Nagi was a resident of the City and County of Honolulu, Hawaii.

 Defendants will not permit Mr. Nagi to vote for President or for voting members of

 Congress by virtue of his residence in the U.S. Virgin Islands. Under UOCAVA

 and Hawaii UMOVA, Mr. Nagi would continue to be able to vote for President

 and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

 he were a resident of the NMI or a foreign country.

              b.    Mr. Nagi was born and raised in the U.S. Territory of Guam

 before he moved stateside to pursue his collegiate and legal education. After


                                          16
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 19 of 44           PageID #:
                                    723



 graduating from law school, he moved to Hawaii in 2002 to begin his legal career

 at the Hawaii Legal Aid Society. In 2005, Mr. Nagi moved to St. Thomas in the

 U.S. Virgin Islands to join his parents, who had moved from Guam to the U.S.

 Virgin Islands several years earlier. He now runs one of the top law firms in the

 U.S. Virgin Islands.

              c.    As a resident of the U.S. Virgin Islands, Mr. Nagi is unable to

 vote for President, either in the U.S. Virgin Islands or by absentee ballot in Hawaii,

 his former state of residence. Mr. Nagi has been an active voter throughout his

 life, including voting for President in Hawaii. He would like to be able to vote for

 President and have voting congressional representation in the U.S. Virgin Islands.

 But until this is possible, he desires to vote for President and voting Members of

 the U.S. House and Senate by absentee ballot in Hawaii.

              d.    In 2008, Mr. Nagi participated in supporting the primary

 campaign of then Senator Barack Obama. He attended a fundraiser in the U.S.

 Virgin Islands that Mr. Obama attended and was active in encouraging others in

 the U.S. Virgin Islands to vote for Mr. Obama in the primary election. Mr. Nagi

 found it eye-opening that he could vote for President during the primary process,

 and even make contributions to support a presidential candidate, but was

 completely disenfranchised in the general election. Now that his two sons are

 getting closer to voting age, Mr. Nagi has taught them the importance of voting


                                          17
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 20 of 44                PageID #:
                                    724



 and political participation. One of the primary reasons he is fighting to expand

 voting rights in U.S. territories is so that no child in the Territories is subject to the

 kind of disenfranchisement he has experienced in both Guam and the U.S. Virgin

 Islands. Mr. Nagi is also confused as to why his right to vote for President as a

 U.S. citizen would be protected if he moved to a foreign country like the British

 Virgin Islands or a U.S. Territory like NMI, but was not protected in his move to

 the U.S. Virgin Islands. The disparate treatment is particularly vexing to Mr. Nagi

 because had he moved from Hawaii to Tortola in the British Virgin Islands, just a

 short distance away from his current residence, Mr. Nagi would have been able to

 vote for President under both UOCAVA and Hawaii UMOVA.

        18.    a.     Plaintiff Patricia Arroyo Rodriguez is a U.S. citizen born in

 Texas in 1959. She currently resides in Tumon, Guam. From 1978 to 1994, Ms.

 Rodriguez was a resident of the City and County of Honolulu, Hawaii. Defendants

 will not permit Ms. Rodriguez to vote for President or for voting members of

 Congress by virtue of her residence in Guam. Under UOCAVA and Hawaii

 UMOVA, Ms. Rodriguez would continue to be able to vote for President and

 voting Members of the U.S. House and Senate by absentee ballot in Hawaii if she

 were a resident of the NMI or a foreign country.

               b.     For the past several decades, Ms. Rodriguez has been a popular

 radio and talk show host for the Sorensen Media Group. As someone deeply


                                             18
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 21 of 44            PageID #:
                                    725



 engaged in covering and discussing the news of the day, she has seen first-hand the

 impact that the denial of voting rights has had on Guam, whether it is negotiating

 with federal officials during the military buildup, addressing disparities in federal

 healthcare programs, seeking increased reimbursement for costs associated with

 regional migration under the Compacts of Free Association, or engaging the

 federal government to support decolonization and CHamoru self-determination.

 Ms. Rodriguez believes that expanded voting rights in Guam could have a positive

 impact on a range of policy issues given that Guam’s greatest challenge in

 Washington, D.C., is often either a lack of knowledge or apathy on the part of

 federal officials whose decisions can have literal life-and-death consequences to

 island residents. She believes that increased democratic accountability could lead

 to a more responsive federal government when it comes to issues important to the

 people of Guam.

              c.     As a resident of Guam, Ms. Rodriguez is unable to vote for

 President, either on Guam or by absentee ballot in Hawaii, her former state of

 residence. Ms. Rodriguez has been an active voter throughout her life, both in

 Hawaii and on Guam. She would like to be able to vote for President and have

 voting congressional representation in Guam. But until this is possible, she desires

 to vote for President and voting Members of the U.S. House and Senate by

 absentee ballot in Hawaii. Ms. Rodriguez believes that all U.S. citizens should be


                                           19
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 22 of 44            PageID #:
                                    726



 able to vote for President and have voting representation in Congress, wherever

 they may live.

       19.    a.    Plaintiff Laura Castillo Nagi is a U.S. citizen born in Illinois in

 1975. She currently resides in St. Thomas, U.S. Virgin Islands. From 2002 to

 2005, Ms. Nagi was a resident of the City and County of Honolulu, Hawaii.

 Defendants will not permit Ms. Nagi to vote for President or for voting members of

 Congress by virtue of her residence in the U.S. Virgin Islands. Under UOCAVA

 and Hawaii UMOVA, Ms. Nagi would continue to be able to vote for President

 and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

 she were a resident of the NMI or a foreign country.

              b.    Ms. Nagi moved to Hawaii in 2002 to continue her legal career

 at the Legal Aid Society of Hawaii and then the Domestic Violence Clearinghouse

 (now known as the Domestic Violence Action Center). In 2005, Ms. Nagi moved

 to St. Thomas. She now has her own legal practice where she is active in family

 court, often serving as a court appointed guardian ad litem in abuse/neglect cases

 and representing minors in juvenile delinquency matters. In addition to her legal

 practice, she is active in the community, providing education and training on

 mindfulness and emotional intelligence. She also serves as Co-Chair of the

 Attorney Well-Being Committee of the Virgin Islands Bar Association.




                                          20
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 23 of 44           PageID #:
                                    727



              c.    As a resident of the U.S. Virgin Islands, Ms. Nagi is unable to

 vote for President, either in the U.S. Virgin Islands or by absentee ballot in Hawaii,

 her former state of residence. Ms. Nagi voted for President when she was a

 resident of Hawaii. She would like to be able to vote for President and have voting

 congressional representation in the U.S. Virgin Islands. But until this is possible,

 she desires to vote for President and voting Members of the U.S. House and Senate

 by absentee ballot in Hawaii.

       20.    a.    Equally American Legal Defense and Education Fund is a

 nonpartisan civil rights organization founded in 2013 that advocates for equality

 and voting rights for the nearly 4 million citizens living in U.S. Territories – 98%

 of whom are racial or ethnic minorities. Its membership includes Individual

 Plaintiffs and other current residents of Guam, the U.S. Virgin Islands, Puerto

 Rico, American Samoa, and the Northern Mariana Islands who are former

 residents of Hawaii or other States. One of its members is Dr. Thomas Shieh, a

 U.S. Navy veteran who was a resident of Hawaii prior to being stationed in Guam

 to serve as a physician at the U.S. Naval Hospital Guam. A specialist in obstetrics

 and gynecology, Dr. Shieh has now lived in Guam for almost 25 years, delivering

 over 9,000 babies. Another of its members, Renata Bordallo, became a resident of

 Hawaii while pursuing her master’s degree in social work before returning home to

 Guam. Ms. Bordallo’s sister also established residency in Hawaii, but rather than


                                          21
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 24 of 44            PageID #:
                                    728



 move home to Guam moved instead to the Northern Mariana Islands. Because Ms.

 Bordallo moved to Guam rather than to the Northern Mariana Islands, she cannot

 vote for President or voting representation in Congress by absentee ballot in

 Hawaii while her sister, who lives 135 miles to the north, is permitted to do so. As

 U.S. citizens, both Dr. Shieh and Ms. Bordallo would like to be able to vote for

 President and have voting congressional representation in Guam. But until this is

 possible, they desire to vote for President by absentee ballot in Hawaii. Both Dr.

 Shieh and Ms. Bordallo would vote absentee for President in Hawaii if they were

 permitted to. In all, Equally American has several dozen other members living in

 Guam, the U.S. Virgin Islands, Puerto Rico, and American Samoa who are former

 residents of Hawaii, along with several hundred other members who are former

 residents of other States, who have expressed a similar desire that if they are

 unable to vote for President in the Territory where they live, they would like to be

 able to vote absentee for President in their former State of residence.

              b.    Equally American’s values are centered on the basic principle

 that all U.S. citizens should have equal rights and representation, wherever they

 live. Equally American follows in the footsteps of earlier civil rights movements

 to use the power of impact litigation and grass roots organizing to help drive

 change for U.S. citizens who are disenfranchised from the political process. Both

 inside and outside the courtroom, Equally American works to raise the visibility of


                                          22
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 25 of 44               PageID #:
                                    729



 these disenfranchised Americans at a national level. Equally American does not

 take a position on the political status of U.S. Territories.

              c.     Equally American recognizes that the political empowerment of

 residents of Guam, the U.S. Virgin Islands, and other Territories is critical to

 addressing the interests and needs of these communities. It believes that

 continuing political disenfranchisement contributes to many of the hardships facing

 these marginalized communities, from disparities in federal healthcare benefits to

 threats posed by natural disasters or foreign adversaries. Equally American

 believes that expanding voting rights to residents of U.S. Territories who could

 vote for President if they lived in the NMI or a foreign country would provide new

 opportunities for national political engagement on issues that affect daily life in

 these neglected American communities. Expanding voting rights in this way will

 also create a much-needed political incentive for Congress and the President to

 take action to ensure full voting rights for all U.S. citizens who live in the

 Territories. Equally American’s advocacy will not rest until every U.S. citizen is

 able to vote for President and has voting representation in Congress, whether they

 are a resident of a State or Territory.

       B.     Defendants

       21.    Defendant Scott Nago is being sued in his official capacity as Chief

 Election Officer of the Hawaii Office of Elections. By statute, the Chief Election



                                            23
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 26 of 44             PageID #:
                                    730



 Officer “shall be the state official responsible for implementing” Hawaii UMOVA

 “and the State’s responsibilities under” UOCAVA. H.R.S. § 15D-4.

       22.    Defendant Glen Takahashi is being sued in his official capacity as

 Clerk of the City and County of Honolulu, Hawaii. By statute, county clerks in

 Hawaii, including the City Clerk for the City and County of Honolulu, have

 responsibility for voter registration and for determining eligibility for registration

 based on residency. H.R.S. §§ 11-1, -11 & -13.

       23.    Defendant Kathy Kaohu is being sued in her official capacity as Clerk

 of the County of Maui, Hawaii.

       24.    Defendant United States of America enacted UOCAVA and exercises

 authority over the Territories where the Individual Plaintiffs reside.

       25.    Defendant Lloyd J. Austin III is being sued in his official capacity as

 the Secretary of Defense. Under Executive Order Number 12,642, 53 Fed. Reg.

 21,975, at 21,975 (June 8, 1988), the Secretary of Defense is “designated as the

 ‘Presidential designee’” under UOCAVA, 52 U.S.C. § 20301(a).

       26.    Defendant Federal Voting Assistance Program (“FVAP”) is charged

 with the administration of federal responsibilities under UOCAVA pursuant to a

 delegation of authority by the Secretary of Defense. See Department of Defense

 Instruction 1000.04 (Sept. 13, 2012).




                                           24
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 27 of 44           PageID #:
                                    731



       27.    Defendant David Beirne is being sued in his official capacity as

 Director of FVAP. In that capacity, Director David Beirne is responsible for all

 aspects of FVAP and has the authority to administer that responsibility, including

 the establishment and maintenance of a voting assistance program “to assist all

 eligible voters as covered by” UOCAVA. See Department of Defense Instruction

 1000.04, at Encl. 3.

       28.    Each of the above-named Defendants has been sued in its, his or her

 official capacity. At all relevant times, Defendants have acted under the color of

 statutes, ordinances, regulations, customs and usages of the State of Hawaii or the

 United States.

                          JURISDICTION AND VENUE
       29.    This action seeks declaratory relief under the Federal Declaratory

 Judgment Act of 1934, 28 U.S.C. §§ 2201-02.

       30.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331

 because Plaintiffs’ causes of action arise under the Due Process and Equal

 Protection Clauses of the U.S. Constitution and under federal statute, 42 U.S.C. §

 1983. The Court also has subject matter jurisdiction under 28 U.S.C. § 1343(a)(3),

 because this is an action to “redress the deprivation, under color of any State law,

 statute, ordinance, regulation, custom or usage, of any right, privilege or immunity

 secured by the Constitution of the United States or by any Act of Congress



                                          25
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 28 of 44             PageID #:
                                    732



 providing for equal rights of citizens or of all persons within the jurisdiction of the

 United States.”

       31.    Venue is proper in this district under 28 U.S.C. § 1391(b)(1) & (e)(1)

 because the United States, David Beirne, the Federal Voting Assistance Program,

 and Christopher C. Miller, are federal defendants; Defendants Scott Nago, Glen

 Takahashi and Kathy Kaohu reside in this district; and a substantial part of the

 events and omissions giving rise to Plaintiffs’ claims occurred in this district.

       32.    Plaintiffs have satisfied or will timely satisfy any requirements

 imposed on them by Federal Rule of Civil Procedure 5.1, which applies because

 this case challenges the constitutionality of federal and state statutes. No notice or

 certification to the Attorney General of the United States is required because the

 United States is a party. Fed. R. Civ. P. 5.1(a)(1)(A); 28 U.S.C. § 2403(a). Notice

 to the Attorney General of Hawaii likely is also not required because the Chief

 Elections Officer is an officer or employee of the State of Hawaii, but notice is

 nevertheless being made as soon after the filing of this complaint as possible out of

 an abundance of caution. Fed. R. Civ. P. 5.1(a)(1)(B); 28 U.S.C. § 2403(b).

                            FACTUAL ALLEGATIONS
       A.     History Of Overseas U.S. Territories

       33.    The United States has several Territories, including Puerto Rico,

 Guam, the U.S. Virgin Islands, American Samoa, and the NMI. These



                                           26
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 29 of 44              PageID #:
                                    733



 jurisdictions are home to nearly 4 million people, a population greater than almost

 half the States and larger than the five smallest States combined. According to the

 U.S. Census, more than 98% of the residents of these areas are racial or ethnic

 minorities.

       34.     Puerto Rico and Guam became a part of the United States in 1898

 following the Spanish-American War. American Samoa became part of the United

 States after Deeds of Cession were signed in 1900 and 1904. The U.S. Virgin

 Islands was purchased by the United States from Denmark in 1917. The NMI

 became part of the United States in 1986.

       35.     Congress recognized people born in Puerto Rico were U.S. citizens in

 1917, in the U.S. Virgin Islands in 1927, in Guam in 1950, and in the NMI in 1986.

 People born in American Samoa owe permanent allegiance to the United States;

 however, the federal government labels them as nationals, but not citizens, of the

 United States.

       36.     Before it was admitted to the Union as a state in 1959, Hawaii was

 also subjected to a U.S. territorial status akin to that of the present-day Territories

 mentioned above. The United States declared Hawaii a Territory by way of a joint

 resolution of Congress in 1898. Two years later, Congress passed an Organic Act

 establishing Hawaii’s territorial government. Through this Organic Act, the

 Federal government maintained direct and absolute control over how Hawaii’s


                                            27
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 30 of 44           PageID #:
                                    734



 territorial government was organized and operated, thereby depriving Hawaii’s

 indigenous native Hawaiian inhabitants and non-native inhabitants any meaningful

 opportunities to vote and participate in government. The President, with the

 consent of the Senate, appointed the principal officers of the Territory – the

 Governor and Secretary. The Governor appointed heads of the various territorial

 departments. All territorial court judges (supreme court, circuit court, federal

 district court) were appointed by the President. While the Organic Act set up a

 bicameral legislature with legislators that any citizen of Hawaii could vote for,

 Congress held the ultimate right to amend or invalidate any territorial law enacted

 by the Hawaii territorial legislature. Further, Hawaii’s Organic Act provided that

 residents of Hawaii would be represented in Congress only by a non-voting

 delegate. Notably, however, the Supreme Court made clear in a ruling in 1927,

 well before Hawaii became a State, that the same “fundamental rights of the

 individual” that are protected in the States under the auspices of the Fourteenth

 Amendment “are guaranteed by the Fifth Amendment against” the “federal

 government and agencies set up by Congress for the government of the territory.”

 Farrington v. Tokushige, 273 U.S. 284, 299 (1927) (extending the holdings of

 Meyer v. Nebraska, 262 U.S. 390 (1923) and related cases to the regulation of

 schools in Hawaii).




                                          28
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 31 of 44             PageID #:
                                    735



       37.     While each area has a unique history and people, the Territories are

 similarly situated with respect to their relationship to the federal government.

 While each has a local government, ultimate authority rests with Congress, which

 has broad power over the Territories under Article IV, Section 3 of the U.S.

 Constitution.

       38.     The Territories have a proud tradition of military service, with their

 residents serving in every major American conflict since World War I. Territorial

 residents volunteer to serve in the U.S. Armed Forces at rates that are generally

 significantly higher than the 50 States. According to the 2010 Census, over

 100,000 veterans currently reside in the Territories. Casualty rates Iraq and

 Afghanistan for service members from Guam and the U.S. Virgin Islands have

 been more than three times the national average. Like other Americans, U.S.

 citizens who reside in the Territories are required to register for selective service

 when they turn eighteen. These Americans are subject to the military draft the

 same as other Americans, with more than 50,000 territorial residents having served

 in Vietnam.

       39.     Residents of the Territories also contribute a significant amount to the

 federal treasury through federal taxes. In 2018 alone, residents of the Territories

 paid more than $3.5 billion in federal taxes according to the 2018 Internal Revenue

 Service Data Book. Territorial residents pay most federal taxes, although only


                                           29
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 32 of 44               PageID #:
                                    736



 certain federal employees pay federal income taxes. Territorial residents also

 receive most federal benefits, although many major benefits like Medicaid have

 funding levels capped at levels well below what residents of the States receive.

       40.    Federal criminal laws fully apply in the Territories. In 2012, more

 than 2,100 individuals were prosecuted for federal crimes in the Territories, with

 more than 1,500 receiving a criminal sentence according to the Bureau of Justice

 Statistics Federal Justice Statistics Program. Under federal criminal law, territorial

 residents may face life in prison or even the death penalty, even though none of the

 Territories provide for capital punishment, and several expressly prohibit it. More

 broadly, because of the disenfranchisement of territorial residents in all the

 affected Territories, there is no democratic accountability with respect to the

 federal laws they must follow, or with the federal prosecutors and federal judges

 who enforce the law, preside over trials, and determine sentencing.

       41.    While Congress has broad power over the Territories, each Territory’s

 sole federal representation is a non-voting Delegate in the U.S. House of

 Representatives, who shares many of the privileges of other Members, but who

 cannot vote on final passage of legislation. The Territories lack any form of

 representation, voting or not, in the U.S. Senate. In presidential elections,

 territorial residents fully participate in the party primaries, with Delegates

 attending the national party conventions. But when it comes to the General


                                           30
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 33 of 44              PageID #:
                                    737



 Election, the Territories are not included in the Electoral College, as are residents

 of the States (and the District of Columbia based on the Twenty-Third

 Amendment).

       42.    Voting in the Territories does not break down along any predictable

 party lines. For example, Guam currently has a Democratic Governor, but for the

 preceding sixteen years Guam’s Governor was a Republican. Each Territory has

 elected both Democrats and Republicans to represent them in Congress. Perhaps

 most striking, Guam includes a straw poll for President on its General Election

 ballot, with Guam voters – who cast their votes a day ahead of the rest of the

 country – supporting the eventual winner in every presidential election between

 1984 and 2012.

       43.    Residents of U.S. Territories are able to vote for President should they

 become a resident of a State or the District of Columbia. Indeed, there is a

 territorial diaspora of more than 5 million Americans living in the States who have

 ties to the Territories, whether through family or having actually lived in a

 Territory. Included among those in the diaspora who will have a particularly

 influential political voice in 2020 are the more than 750,000 U.S. citizens of voting

 age with ties to the Territories, who live in Florida, 340,000 in Pennsylvania,

 75,000 in North Carolina, 70,000 in Georgia, 40,000 in Wisconsin, and 30,000 in

 Arizona and Michigan. Each year, tens of thousands of territorial residents move


                                           31
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 34 of 44             PageID #:
                                    738



 to the States. Thousands of residents of the States also move to the Territories,

 where they become disenfranchised, depending on which Territory they move to.

       B.     History And Structure Of UOCAVA
       44.    Congress enacted UOCAVA in 1986 to “facilitate absentee voting by

 United States citizens, both military and civilian, who are overseas.” H.R. Rep.

 No. 99-765, at 5 (1986), reprinted in 1986 U.S.C.C.A.N. 2009, at 2009.

       45.    UOCAVA built on existing federal statutes, which Congress enacted

 to safeguard the fundamental nature of voting rights and to cure a potential

 violation of equal protection by remedying the selective distribution of the

 franchise to Americans who had left their State of residence and not adopted

 another state residence. See H.R. Rep. No. 94-649, pt. 1, at 2-3 (1975), reprinted

 in 1975 U.S.C.C.A.N. 2358, 2359-60.

       46.    Among other things, UOCAVA was enacted to supply alternative

 forms of voting to overseas citizens who seek to comply with state procedures but

 are unable to acquire or timely submit state absentee ballots. H.R. Rep. No. 99-

 765, at 5-6, 1986 U.S.C.C.A.N. at 2009-10.

       47.    Section 102 of UOCAVA (now codified as amended at 52 U.S.C. §

 20302) reaffirms the pre-existing requirement that States must “provide for

 absentee registration and absentee voting by absent uniformed services voters and

 overseas voters.” H.R. Rep. No. 99-765, at 20, 1986 U.S.C.C.A.N. at 2024; see



                                          32
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 35 of 44            PageID #:
                                    739



 also 52 U.S.C. § 20302(a)(1) (Each State shall “permit absent uniformed services

 voters and overseas voters to use absentee registration procedures and to vote by

 absentee ballot in general, special, primary, and runoff elections for Federal

 office.”).

        48.   Section 107 of UOCAVA defines the “overseas voter[s]” covered by

 section 102. As amended, the provision defines “overseas voter” to include an

 absent uniformed services voter, “a person who resides outside the United States

 and is qualified to vote in the last place in which the person was domiciled before

 leaving the United States,” and “a person who resides outside the United States and

 (but for such residence) would be qualified to vote in the last place in which the

 person was domiciled before leaving the United States.” 52 U.S.C. § 20310(5)(B)-

 (C).

        49.   The same section also defines “State” as “a State of the United States,

 the District of Columbia, the Commonwealth of Puerto Rico, Guam, the Virgin

 Islands, and American Samoa.” Id. § 20310(6). Consistent with this definition, it

 also provides that the term “‘United States,’ where used in the territorial sense,

 means the several States, the District of Columbia, the Commonwealth of Puerto

 Rico, Guam, the Virgin Islands, and American Samoa.” Id. § 20310(8).




                                           33
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 36 of 44             PageID #:
                                    740



        50.       The NMI is excluded from both definitions, meaning it is not treated

 as a “State” or as part of the “United States” as used in UOCAVA. No explanation

 is given for this arrangement in the legislative history.

        51.       In short, the effect of UOCAVA’s statutory language is to provide the

 right to vote for President and voting representation in the U.S. House and Senate

 to former state residents who move to any foreign country or the NMI, but not for

 former state residents who move to “the Commonwealth of Puerto Rico, Guam, the

 Virgin Islands, and American Samoa ,” drawing lines within the statutory

 definitions even between U.S. citizens based on the particular overseas Territory

 in which they reside – lines that do not have, and never have had, any coherent

 justification.

        C.        History And Structure Of The Hawaii Overseas Voting Statute

        52.       Hawaii has adopted its own provision, Hawaii UMOVA, protecting

 and regulating the voting rights of overseas citizens. Hawaii UMOVA provides

 that U.S. citizens “living outside the United States” can vote by absentee ballot as

 Hawaii residents in federal elections for President and the U.S. House and Senate.

 H.R.S. § 15D-1 to -18.

        53.       The Hawaiian statute defines the “United States,” when used in the

 territorial sense, as “the several states, the District of Columbia, Puerto Rico, the

 United States Virgin Islands, and any territory or insular possession subject to the



                                             34
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 37 of 44              PageID #:
                                    741



 jurisdiction of the United States.” Id. at § 15D-2. Thus, strictly read, Hawaii

 UMOVA does not grant enfranchisement to former state residents who move to

 any Territory. Nevertheless, through the enactment of regulatory rules by the

 Hawaii Office of Elections, Hawaii adheres to the requirement under UOCAVA

 that former Hawaii citizens now residing in the NMI may vote absentee in federal

 elections in Hawaii like “overseas” voters. See H.A.R. § 3-177-600.

       54.    In certain respects, Hawaii law also grants broader rights than

 UOCAVA to certain non-territorial residents. Specifically, section 15D-2 of the

 Hawaii Revised Statutes explicitly grants the right to vote under Hawaii UMOVA

 to U.S. citizens who are born outside of and have never resided in the United States

 or registered to vote in any other State, if their parents or guardians last resided in

 Hawaii before moving overseas and, absent the residence requirements, would

 otherwise be eligible to vote. Id. This means that even United States citizens who

 have never lived in the United States are eligible to vote in Hawaiian federal

 elections, yet Hawaii state residents instantly lose their right to vote for President if

 they move to Guam, the U.S. Virgin Islands, American Samoa, or Puerto Rico.

       55.    Thus, under Hawaii law, former residents of Hawaii (and non-

 Hawaiian-born children of such former residents) living in a foreign country, or in

 the NMI, may vote in Hawaii by absentee ballot for President and voting

 representation in the U.S. House and Senate, but according to the language of


                                            35
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 38 of 44              PageID #:
                                    742



 Hawaii statutory law, former residents living in the “Puerto Rico, the United States

 Virgin Islands, and any territory or insular possession subject to the jurisdiction of

 the United States” may not vote absentee for President and voting representation in

 Congress. H.R.S. § 15D-2.3

       D.     Equal Protection Principles

       56.    The Equal Protection Clause of the U.S. Constitution provides: “No

 state shall . . . deny to any person within its jurisdiction the equal protection of the

 laws.” U.S. Const. amend. XIV, § 1.

       57.    Equal-protection requirements apply both to federal and state laws.

 See, e.g., United States v. Windsor, 570 U.S. 744, 774 (2013) (“The liberty

 protected by the Fifth Amendment’s Due Process Clause contains within it the

 prohibition against denying to any person the equal protection of the laws.”).

       58.    The Equal Protection Clause guarantees a citizen’s “right to

 participate in elections on an equal basis” when that right is threatened by “statutes

 that selectively distribute the franchise.” Dunn v. Blumstein, 405 U.S. 330, 336

 (1972). “[O]nce the franchise is granted to the electorate, lines may not be drawn

 which are inconsistent with” equal protection. Harper v. Va. State Bd. of

 Elections, 383 U.S. 663, 665 (1966). This constitutional principle is necessary to


 3
       Because federal law is supreme, UOCAVA’s command to allow former
 Hawaii residents living in the NMI to vote is also a part of Hawaii law, as reflected
 in H.A.R. § 3-177-600.

                                            36
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 39 of 44             PageID #:
                                    743



 safeguard voters’ ability to protect their stake in the affairs of government “by

 exercising the equal right to vote.” Evans v. Cornman, 398 U.S. 419, 426 (1970).

       59.    The right to vote is “fundamental.” Yick Wo v. Hopkins, 118 U.S.

 356, 370 (1886). As a result, any statute that restricts the franchise is subject to

 strict scrutiny, and cannot be sustained unless “necessary to promote a compelling

 state interest.” Dunn, 405 U.S. at 330. Strict scrutiny applies to discriminatory

 expansion of the franchise, even if broader, or wholesale, limits would have been

 constitutionally permissible. See Kramer v. Union Free Sch. Dist. No. 15, 395

 U.S. 621, 627 (1969); Idaho Coalition United for Bears v. Cenarrusa, 342 F.3d

 1073, 1077 n.7 (9th Cir. 2003).

       60.    The Supreme Court has also recognized that heightened scrutiny

 should be applied to laws disproportionately affecting groups, such as the

 territorial residents seeking redress here, that have “historically been ‘relegated to

 such a position of political powerlessness as to command extraordinary protection

 from the majoritarian political process,’” Plyler v. Doe, 457 U.S. 202, 216 n.14

 (1982) (citation omitted).

       61.    Even absent strict or otherwise heightened scrutiny, discriminatory

 laws are unconstitutional under the Equal Protection Clause when the

 discriminations they enact are arbitrary – including where the passage of time has

 rendered justifications that seemed rational at the time the law was enacted


                                           37
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 40 of 44              PageID #:
                                    744



 arbitrary in the present day. United States v. Carolene Prods. Co., 304 U.S. 144,

 153 (1938) (explaining that where “the existence of a rational basis for legislation

 whose constitutionality is attacked” is at issue, “the constitutionality of a statute

 predicated upon the existence of a particular state of facts may be challenged by

 showing to the court that those facts have ceased to exist”).

        62.      Federal and Hawaii law grant voting rights for certain U.S. citizens

 who move overseas, while denying them to others who are similarly situated, even

 going so far as to draw lines based on the particular Territory in which a person

 resides. Neither Congress nor Hawaii has offered any justification for this

 arbitrary classification. Indeed, there is no proffered explanation that satisfies any

 potentially applicable standard of review.

                                  CLAIM FOR RELIEF

  UOCAVA And The Hawaii Statute Violate The Equal-Protection And Due
  Process Guarantees Under The Fifth And Fourteenth Amendments And 42
                               U.S.C. § 1983
       By Treating Differently Former State Residents Depending On
                Where They Now Reside Outside The States

        Plaintiffs incorporate by reference paragraphs 1 through 62 as if set forth

 here in full.

        63.      By treating similarly situated former state residents differently based

 on where they reside overseas, UOCAVA and Hawaii UMOVA violate the equal-

 protection and due process guarantees of the Fifth and Fourteenth Amendments



                                             38
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 41 of 44                PageID #:
                                    745



 and 42 U.S.C. § 1983. The two acts protect the voting rights of certain U.S.

 citizens who live outside the States in certain overseas Territories or foreign

 countries, while denying those rights to similarly situated U.S. citizens who live in

 other overseas Territories.

       64.    No legislature has articulated a legitimate justification for this

 arbitrary and discriminatory treatment of overseas citizens. There is no present-

 day justification for the discriminatory treatment, rendering the laws

 unconstitutional even pursuant to rational-basis review, much less the

 constitutionally required heightened scrutiny.

       65.    By reason of the foregoing, Defendants, acting under color of federal

 and state law, have deprived and will continue to deprive Plaintiffs of equal

 protection under the law secured to them by the Fourteenth Amendment and the

 Fifth Amendment, and protected against state interference specifically by 42

 U.S.C. § 1983.

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Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 42 of 44              PageID #:
                                    746



                                PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs request of this Court the following equitable

 relief:

                    a. An order—

                          i. Declaring that UOCAVA, Hawaii UMOVA, and H.A.R.

                             § 3-177-600 violate the equal protection guarantees of

                             the Fifth and Fourteenth Amendments, and violate 42

                             U.S.C. § 1983, by extending absentee voting privileges to

                             former Hawaii residents living foreign countries or NMI

                             but not to former Hawaii residents living in Puerto Rico,

                             Guam, the U.S. Virgin Islands, or American Samoa;

                         ii. Striking and ordering unenforceable the inclusion of “the

                             Commonwealth of Puerto Rico, Guam, the Virgin

                             Islands, and American Samoa” in the definition of

                             “United States” in 52 U.S.C. § 20310(8) because the

                             inclusion of such language has the unconstitutional

                             effects described in paragraphs 44-51, above; and

                         iii. Striking and ordering unenforceable the inclusion of

                             “Puerto Rico, the United States Virgin Islands, and any

                             territory or insular possession subject to the jurisdiction



                                            40
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 43 of 44          PageID #:
                                    747



                        of the United States” in the definition of “United States”

                        in H.R.S. § 15D-2 because the inclusion of such language

                        has the unconstitutional effects described in paragraphs

                        52 through 55, above.;

               b. A preliminary and permanent order enjoining the enforcement

                  of 52 U.S.C. § 20310, H.R.S. § 15D-2, and H.A.R. § 3-177-600

                  by Defendants, their respective agents, servants, employees,

                  attorneys, successors, and all persons acting in concert with

                  each or any of them, in a manner that violates the Fifth

                  Amendment, the Fourteenth Amendment, or 42 U.S.C. § 1983

                  by implementing these provisions in such a way as to extend

                  the right to vote absentee or accept absentee ballots on a basis

                  that discriminates against Plaintiffs relative to other similarly

                  situated former Hawaii residents by denying the former the

                  right to vote absentee while extending that right to the latter

                  based on their current residency in a foreign country or the NMI

                  or other U.S. Territories not specifically named in 52 U.S.C. §

                  20310(8);

               c. Attorneys’ fees and costs to which Plaintiffs might be entitled

                  by law; and


                                        41
Case 1:20-cv-00433-JAO-RT Document 105 Filed 05/14/21 Page 44 of 44       PageID #:
                                    748



               d. Such other and further relief as this Court may deem just and

                  appropriate.

       DATED: Honolulu, Hawaii, May 14, 2021

                                            Respectfully submitted,

                                            /s/Anthony “T.J.” Quan
                                            ______________________________
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                                       42
